                                UNITED STATES DISTRICT COURT
                                            for the
                             EASTERN DISTRICT OF NORTH CAROLINA

U.S.A. vs. Terry Tyshun Moody                                                 Docket No. 2:21-CR-24-1BO

                                Petition for Action on Supervised Release

COMES NOW Cierra M. Wallace, U.S . Probation Officer of the court, presenting a pet1t1on for
modification of the Judgement and Commitment Order of Terry Tyshun Moody, who, upon an earlier plea
of guilty to Felon in Possession of a Firearm, 18 U.S.C §§ 922(g)(l) and 924(a)(2), was sentenced by the
Honorable Catherine C. Eagles, U.S. District Judge, on June 16, 2021 , to 36 months probation. On August
2, 2021 , jurisdiction was transferred to the Eastern District of North Carolina and assigned to the Honorable
Terrence W. Boyle, U.S. District Judge.

    On April 17, 2023 , a Revocation hearing was held, and the court found that Moody violated his term of
probation. He was sentenced to the custody of the Bureau of Prisons for a term of 18 months. It was further
ordered that upon release from imprisonment the defendant be placed on supervised release for a period of
24 months, under the mandatory and standard conditions of supervised release adopted by the Eastern
District of North Carolina.

   Terry Tyshun Moody was released from custody on February 28, 2024, at which time the term of
supervised release commenced.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS
FOLLOWS:

After meeting with the defendant on March 8, 2024, and assessing his history of substance abuse while
previously on probation, it is recommended that the defendant participate in our district's surprise urinalysis
program and substance abuse treatment. The defendant signed a Waiver of Hearing agreeing to the proposed
modification of supervision.

PRAYING THAT THE COURT WILL ORDER that supervised release be modified as follows:

    1. The defendant shall participate as directed in a program approved by the probation office for the
       treatment of narcotic addiction, drug dependency, or alcohol dependency which will include
       urinalysis testing or other drug detection measures and may require residence or participation in a
       residential treatment faci 1ity.

Except as herein modified, the judgment shall remain in full force and effect.




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Reviewed and approved,                            I declare under penalty of perjury that the foregoing
                                                  is true and correct.


/s/ Maurice J. Foy                                /s/ Cierra M. Wallace
Maurice J. Foy                                    Cierra M. Wallace
Supervising U.S . Probation Officer               U.S. Probation Officer
                                                  310 New Bern Avenue, Room 610
                                                  Raleigh, NC 27601-144 l
                                                  Phone: 910-679-2034
                                                  Executed On: March 11 , 2024

                                      ORDER OF THE COURT

Considered and ordered this    /J       day of
made a art of the records in the above case.
                                                 /11 ~               , 2024, and ordered filed and



Terrence W. Boyle
U.S. District Judge




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